Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 1 of 8




         Exhibit I
        Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 2 of 8




                                              United States Attorney
                                              Northern District of California



                                               l l'h Floor, Federal Building
                                                                                            (415)436-7200
                                               450 Golden Gate Ave., Box 36055
                                                                                       FAX (415) 436-7234
                                               San Francisco, CA 94102-3495


                                              January 11, 2016

Custodian of Records
Theranos, Inc.
c/o Peter Skinner, Esq.
Boies, Schiller & Flexner LLP
575 Lexington Avenue, 7th Floor
New York, NY 10022
Fax: (212) 446-2350

               Re: Grand Jury Subpoena Investigation #2016R00024-1

Dear Sir or Madam:

        You have received a grand jury subpoena duces tecum in connection with the above-
numbered grand jury investigation. The subpoena has been issued in furtherance of that
investigation.

        This letter is written to advise you that disclosure of the subpoena and your response to it
to any third parties may impede or obstruct the investigation. Therefore, we ask you not to
disclose the existence of the subpoena or the nature of your response to it to any person for the
indefinite future.

       If you have any questions about this request, please telephone me at (415) 436-7534.

                                                       Very truly yours,

                                                       BRIAN J. STRETCH
                                                       Acting United States Attorney

                                                               ?~s~
                                                       ROBERT S. LEACH
                                                       Assistant United States Attorney
RSL:bk
Enclosures
                  Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 3 of 8

AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury
                                                                                           USAO NO. 2016R00024-l   GJ 14-3


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Northern District of California

                                       SUBPOENA TO TESTIFY BEFORE A GRAND JURY


To: Custodian of Records
    Theranos, Inc.
    c/o Peter Skinner, Esq. - Bois, Schiller & Flexner LLP, 575 Lexington Avenue, 7th Floor, New York, NY 10022

         YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
below to testify before the court' s grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.




L
         United States District Court
         Federal Building & Courthouse, Grand Jury Room A, 17
         450 Golden Gate Avenue
         San Francisco, CA 94102
                                                                                  Date and Time:

                                                                                     01/28/2016 9:30 am
                                                                                                             -=]
          You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable) :
                                                         **PLEASE SEE ATIACHED**




Date:           01/11/2016                                               CLERK OF COURT




The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, are:
Robert S. Leach, AUSA ]             ~

                                      ~
U.S. Attorney's Office
450 Golden Gate Avenuen ,             ,S      rancisco, CA 94102, Ph: (415) 436-7534
This subpoena is issued on application of the United States of America.
BRIAN J. STRETCH
ACTING UNITED STATES ATTORNEY
        Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 4 of 8



                                                 U.S. Department of Justice
                                                 United States Attorney
                                                 Northern District of California


                                              11'h Floor, Federal Building                (415)436-7200
                                              450 Golden Gate Ave., Box 36055       FAX: (415) 436-7234
                                              San Francisco, CA 94102-3495




                                     ADVICE OF RIGHTS

In accordance with Department of Justice regulations, this form is attached to all federal grand
jury subpoenas, regardless of the status, culpability, or involvement of the person who receives a
subpoena.

1.     The grand jury is conducting an investigation of possible violations of federal criminal
       law involving securities fraud, wire fraud, mail fraud, false statements, the Federal Food,
       Drug, and Cosmetic Act, and other offenses.

2.     A witness before the grand jury may refuse to answer any questions if a truthful answer
       to the question would tend to incriminate the witness.

3.     Anything said by a witness before the grand jury may be used against the witness by a
       grand jury or in a subsequent legal proceeding.

4.     If a witness has retained counsel, the grand jury will permit the witness a reasonable
       opportunity to step outside the grand jury to consult with counsel ifthe witness so
       desires.
       Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 5 of 8



                                    ATTACHMENT A



Custodian of Records
Theranos, Inc.
c/o Peter Skinner, Esq.
Boies, Schiller & Flexner LLP
575 Lexington Avenue, 7th Floor
New York, NY 10022
Fax: (212) 446-2350



1.    Documents sufficient to identify all shareholders of Theranos.
2.    Documents sufficient to identify any bank accounts or lines of credit of Theranos.
3.    Documents sufficient to identify all securities offerings by Theranos.
4.    With respect to any securities offering, a copy of the prospectus and any other offering
      materials used.
5.    All documents relating to any business arrangement between Theranos and Walgreens,
      including, without limitation, all agreements with Walgreens, all communications with
      Walgreens relating to any business arrangement, and all documents relating to Theranos '
      performance under any agreement.
6.    All documents relating to any business arrangement between Theranos and Safeway,
      including, without limitation, all agreements with Safeway, all communications with
      Safeway relating to any business arrangement, and all documents relating to Theranos '
      performance under any agreement.
7.    All documents relating to any communications between Theranos and Novartis AG,
      including, but not limited to, notes or e-mails summarizing or describing meetings with
      Novartis.
8.    All documents relating to any communications between Theranos and the Cleveland
      Clinic.
             Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 6 of 8




                                       TRANSPORTATION EXPENSE
Name:
(Please Print)
Home Address:

City:                                             State:                    I Zip Code:
Social Security #:                                Telephone #: Home. (     )
                                                               Bus. (     )
                                               (Must include area code)
                            (Local Witnesses) Travel by Private( / Owned Vehicle
Mileage from residence to court (roundtrip ):                         MUST BE ANSWERED BY ALL
                                                                                 WITNESS
                       Toll Information                                      TESTIMONY DATES
                                                                                                                     -
    Date             Name of Bridge(s)             Amount            Grand
                                                                           Ju ry
                                                                                                                 -




Parking Fees: (Copy of Claim Tickct(s) Required)
     Date          Amount            Date                Amount            Date                   Amount


Bart Travelers: (Copy of BART Ticket Required)
       Name of attorney who subpoenaed you:
                                               Out of State Witnesses
Note: Receipts required for all transactions (parking, taxi, and/or subway)
Mode of Travel from residence to airport (roundtrip ):     D   Taxi (Cost:                     )
                                                           D   Subway (Cost:                   )
                                                           D   Privately Owned Veh icle (Mileage:                    )
Mode of travel from airport to Court House I Hotel         D   Taxi (Cost:                     )
(roundtrip):                                               D   Subway (Cost:                   )
                                                           D   Privately Owned Vehicle (Mileage:                     )
        Arrival Date:                                           Departure Date:
D   I am not a Federal employee                    D     I am a citizen of the United States
D   I am a Federal employee                        D     I am not a citizen of the United States
                                                         (if not a citizen, present your Alien Registration Record
                                                          for copying)



PLEASE SIGN    ~~~~~~~~--~~~




                         (Signature)

                                                                                            Revised : Nov-15
                               Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 7 of 8
                                                                                                        INSTRUCTIONS FOR FACT WITNESSES APPEARING ON
   U.S. DEPARTMENT OF JUSTICE
                                                                                                             BEHALF OF THE UNITED STATES GOVERNMENT
                                                                                                                      (Not Applicable to Federal Employees)




                                                      San Francisco

  READ THE INFORMATION CONTAINED ON THIS FORM BEFORE YOUR COURT APPEARANCE. PLEASE CALL THE INDIVIDUAL($)
  LISTED BELOW FOR INFORMATION REGARDING TRAVEL ARRANGEMENTS AND SPECIFIC ENTITLEMENTS. IF YOU HAVE A
  MEDICAL CONDITION OR FAMILY SITUATION THAT REQUIRES SPECIAL CONSIDERATION, PLEASE ADVISE THE INDIVIDUAL
  LISTED BELOW AS SOON AS POSSIBLE.

                    BETTY VANTREE                                                                                            4    436 7236
 CONTACT PERSON($): Grand Jury Coordinator                                                             TELEPHONE NUMBER: ( IS)       -

                                                                          - VERIFY YOUR ATTENDANCE -

 On the last business day BEFORE you travel to court, call the above number to verify that your attendance is required. This may prevent a
 wasted trip in the event the trial date is changed.
                                                                        - APPEARANCE IN ANOTHER CITY -

  If you are required to travel to another city to appear in court, immediately contact the individual listed above and request instructions. Any
  amount advanced to you will be deducted from your fees and allowances.

                                                           - REIMBURSEMENT OF EXPENSES AND ATTENDANCE FEES -

 A.           ATTENDANCE FEE: You will be paid a fee of $40 per day, including travel days.

  B.          TRANSPORTATION: Call the individual listed above to obtain information on transportation . Reimbursement will be made for travel
              by the least expensive method reasonably available to you. The following rules apply to transportation expenses:
          1. Local Travel: The recommended method of travel in the local area of court is transit bus/subway.

         2. Privately Owned Vehicles (POV): You will be reimbursed the following amounts:

              Motorcycle .535 _ per mile                   Automobile .575 _ per mile     Airplane $1.33 per mile

              In addition to the above mileage allowance, necessary tolls, parking and other fees may be reimbursed . You must keep a record of
              your odometer readings if you travel by motorcycle or automobile. If two or mere witnesses travel in the same vehicle, only one
              reimbursement for mileage can be made.

              IF POV EXPENSES, INCLUDING MILEAGE, TOLLS, PARKING AND OTHER ASSOCIATED COSTS, ARE GREATER
              THAN THE GOVERNMENT AIRFARE, YOU WILL BE RESPONSIBLE FOR THE DIFFERENCE.

         3. Common Carrier: If you are located outside the local court area, CALL THE INDIVIDUAL LISTED ABOVE FOR INSTRUCTIONS.
            Train, bus or airfare will be reimbursed at the Government rate. Reimbursement WILL NOT be made for First Class accommoda-
            tions, "Frequent Flyer" tickets, or charter service. DO NOT purchase non-refundable tickets. If your appearance date changes or is
            cancelled , you WILL NOT be reimbursed for non-refundable tickets. If you have any questions concerning transportation arrange-
            ments, please contact the individual(s) listed above.

 C.           MEALS: If it is necessary for you to remain away from home overnight, you will receive the following daily meal allowances:

              $_E ~for each travel day                           PLUS    $ 74.00        for each full day at court

  D.          LODGING: If it is necessary for you to remain away from home overnight, you will be reirrbursed for the ACTUAL COST of your
              hotel/motel room , which may be not exceed    $ 250 .00 per night, including tax.

                                                                         -YOU MUST RETAIN RECEIPTS -

 ALL CLAIMS FOR PARKING MUST BE SUPPORTED BY A RECEIPT. OTHER EXPENSES EQUAL TO $25 OR MORE MUST BE SUP-
 PORTED BY A RECEIPT, WITH THE EXCEPTION OF MEALS AND MILEAGE.

                                                                                    - DISMISSAL -

 When you are advised that your attendance is no longer required, you should request information regarding the payment of the fees and allowances outlined
 above. The individual requiring your attendance will provide you with a Fact Witness Voucher. You will be required to list your expenses on this Voucher. The
 Voucher will be submitted to the U.S. Marshals Service for payment. The U.S. Marshals Service will process the voucher and MAIL the payment to you. If you
 require funds to return home, you must bring this fact to the attention of the individual requiring your attendance, who will notify the U.S. Marshals Service.

This form was electronically produced by Elite Federal Forms. Inc.                                                                                    Form 080-2
                 Case 5:18-cr-00258-EJD Document 1163-10 Filed 11/24/21 Page 8 of 8

AO 110 (Rev 06/09) Subpoena to Testify Before Grand Jury (Page 2)




                                                            PROOF OF SERVICE



          This subpoena for (name of individual or organi=ation)
was received by me on (date)


         0     I served the subpoena by delivering a copy to the named person as follows:


                                                                               on (date)                        ; or

         0     I returned the subpoena uncxecuted because:




         I declare under penalty of perjury that this information is true.




Date:
                                                                                           Server's signature



                                                                                       Printed name and title




                                                                                           Server's address

Additional information regarding attempted service, etc:
